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                                                                              2018 Jul-18 PM 04:21
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA




                                 Exhibit “B”




1584940.1                                                                       3
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            IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                            BIRMINGHAM DIVISION


MOUNT ROYAL TOWERS,                              )
                                                 )
             Plaintiff,                          )
                                                 )
      vs.                                        )          CIVIL ACTION NO.
                                                 )          01-CV-2018-902707.00
STERICYCLE, INC., et al.,                        )
                                                 )
              Defendants.                        )


                          NOTICE OF FILING NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that Defendant Stericycle, Inc. (“Stericycle”) has filed its

Notice of Removal of this action to the United States District Court for the Northern District of

Alabama, Southern Division, in the above-styled and numbered cause which was until now

pending in the Circuit Court of Jefferson County, Alabama, thereby removing this case to the

United States District Court for the Northern District of Alabama, Southern Division. A true and

correct copy of the Notice of Removal is attached as “Exhibit 1.”

       Respectfully submitted this 17th day of July, 2018



                                                     /s/    Steven C. Corhern
                                                     One of the Attorneys        for Defendant
                                                     Stericycle, Inc.

OF COUNSEL:
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                                CERTIFICATE OF SERVICE

        I hereby certify that I have electronically filed the foregoing with the Clerk of the Court
using the AlaFile system, which will send notification of this filing on this the 17th day of July
2018, to the following:

       Edward L. Hardin, Jr.
       Anthony C. Harlow
       Benjamin B. Coulter
       Jacob Burchfield
       Burr & Forman LLP
       420 North 20th Street, Suite 3400
       Birmingham, AL 35203




                                                     /s/   Steven C. Corhern
                                                     Of Counsel




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